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                                             July 14, 2023

 Via ECF
 The Honorable Michael A. Hammer,
 United States Magistrate Judge
 Martin Luther King, Jr. Federal Building
 And Courthouse, 2nd Floor
 50 Walnut Street
 Newark, New Jersey 07102

        Re:       Bianchi v. Samsung Electronics America, Inc. et al.
                  Civil Action No.: 2:17-cv-01263-CCC-MAM

 Dear Judge Hammer:

         This firm, along with Squire Patton Boggs (US) LLP, represents defendant, Samsung
 Electronics America, Inc. (“SEA”), in the above-referenced matter. As per Your Honor’s direction
 in the Order of May 26, 2023, we are providing a joint status report.

         As relayed in May, the parties have now entered the final stage of the Settlement
 Agreement reached with the assistance of the Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.).
 A settlement outreach has been launched to customers who were identified through a deliberate
 process as potentially part of Plaintiffs’ putative class and individual offers of settlement have been
 made. Responses have already been received, but we are awaiting additional responses. We
 therefore respectfully request that Your Honor allow us to report back in September 2023.


  Respectfully,                                   Respectfully,

  /s/ James J. O’Hara________________             __/s/ Jonathan Shub______________________
  JAMES J. OHARA
  On behalf of Defendant,                          On behalf of Plaintiffs
  Samsung Electronics America, Inc.

 Cc:    Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.)
